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 12
      Attorneys for Amazon Services LLC
 13
 14                       UNITED STATES BANKRUPTCY COURT

 15                          FOR THE DISTRICT OF ARIZONA

 16
      In re:
 17                                             Case No. 2:11-bk-28944-DPC
      POTENTIAL DYNAMIX LLC,
 18                                             Chapter 11
                         Debtor.
 19                                             Adv. No. 2:13-ap-00799

 20
 21
      TIMOTHY H. SHAFFER, Chapter 11            NOTICE OF LODGING OF
 22   Trustee,                                  [PROPOSED] ORDER
                                                GRANTING IN PART,
 23                            Plaintiff,       DENYING IN PART, AND
                                                RESERVING RULING IN PART
 24   vs.                                       ON AMAZON SERVICES
                                                LLC’S MOTION FOR PARTIAL
 25   AMAZON SERVICES LLC,                      SUMMARY JUDGMENT
 26                      Defendant.
 27
 28

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  1           NOTICE IS HEREBY GIVEN that the undersigned counsel has lodged the
  2   Proposed Order Granting in Part, Denying in Part, and Reserving Ruling in Part on Amazon
  3   Services LLC’s Motion for Partial Summary Judgment on February 12, 2021, a copy of
  4   which is attached as Exhibit A.
  5
  6    Dated: February 12, 2021             PERKINS COIE LLP
  7
                                            By: s/ Eric J. Weiss
  8                                             Richard M. Lorenzen (Bar No. 006787)
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 13                                              Mallory Gitt Webster (Pro Hac Vice)
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 18                                              Attorneys for Amazon Services LLC
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  1                                 CERTIFICATE OF SERVICE
  2           On this date I caused to be served on each of the attorneys identified below, via the
  3   delivery methods indicated below, a copy of the foregoing document, as follows:
  4
        Dale C. Schian                                 X    Via the Clerk’s eFiling Application
  5
        Mark C. Dangerfield                           ___   Via U.S. Mail, 1st Class
  6     Kenneth N. Ralston                            ___   Via Overnight Delivery
        GALLAGHER & KENNEDY, P.A.                     ___   Via Facsimile
  7     2575 East Camelback Road                       X    Via Email
  8     Phoenix, AZ 85016-9225                        ___   Other: ___________________
        dale.schian@gknet.com
  9     mark.dangerfield@gknet.com
        ken.ralston@gknet.com
 10
        Attorneys for Chapter 11 Trustee
 11
 12
        Dated: February 12, 2021                      s/ Mallory Gitt Webster
 13
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                                                                                   Exhibit A



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                            UNITED STATES BANKRUPTCY COURT
  7
                                FOR THE DISTRICT OF ARIZONA
  8
  9
       In re:                                           Case No. 2:11-bk-28944-DPC
 10
       POTENTIAL DYNAMIX LLC,                           Chapter 11
 11
                            Debtor.                     Adv. No. 2:13-ap-00799
 12
 13    TIMOTHY H. SHAFFER, Chapter 11
       Trustee,                                         [PROPOSED] ORDER
 14                                                     GRANTING IN PART,
                            Plaintiff,                  DENYING IN PART, AND
 15                                                     RESERVING RULING IN
       vs.                                              PART ON AMAZON
 16                                                     SERVICES LLC’S MOTION
       AMAZON SERVICES LLC,                             FOR PARTIAL SUMMARY
 17                                                     JUDGMENT
                            Defendant.
 18
 19             The Court, having considered Defendant Amazon Services LLC’s (“Amazon”)
 20   Motion for Partial Summary Judgment, ECF No. 272 (Nov. 20, 2020); Plaintiff Timothy H.
 21   Shaffer’s (the “Trustee”) opposition to the Motion for Partial Summary Judgment, ECF No.
 22   303 (Dec. 23, 2020); the Trustee’s reply in support of the Motion for Partial Summary
 23   Judgment, ECF No. 322 (Jan. 13, 2021); and the argument of both parties during a hearing
 24   on February 11, 2021,
 25             HEREBY ORDERS:
 26             Amazon’s Motion for Partial Summary Judgment, ECF No. 272, is GRANTED IN
 27   PART and DENIED IN PART, and ruling is RESERVED IN PART as follows:
 28               1. The Court finds that there are genuine disputes of material fact regarding

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  1                  Amazon’s argument that the Debtor’s material breach of the agreement
  2                  between Amazon and the Debtor discharges Amazon’s further performance
  3                  under the agreement and DENIES summary judgment on that issue;
  4               2. The Court finds that Count Five in the Trustee’s Complaint, ECF No. 1 (July
  5                  9, 2013), is duplicative of his breach-of-contract claim and that there is no
  6                  standalone cause of action for an “accounting” and therefore GRANTS
  7                  summary judgment on that issue and DISMISSES WITH PREJUDICE Count
  8                  Five;
  9               3. The Court RESERVES ruling on whether the limitation of liability in the
 10                  agreement between Amazon and the Debtor is enforceable and on the amount
 11                  of the limitation; and
 12               4. The Court finds that because of its January 21, 2021, ruling on Amazon’s
 13                  Motion to Exclude the Testimony of Expert Serena Morones, ECF No. 327,
 14                  Amazon’s argument that the Trustee cannot prove damages because his
 15                  expert’s testimony is inadmissible is MOOT and accordingly DENIES
 16                  summary judgment on this issue.
 17
 18   DATED AND SIGNED ABOVE
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  1   Approved as to form and content:
  2    PERKINS COIE LLP
  3
       By: s/ Eric J. Weiss
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 16         Attorneys for Amazon Services LLC
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